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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 (West Palm Beach Division)

                                             CASE NO.

  VOCODIA HOLDINGS CORP, a Wyoming
  corporation,

         Plaintiff,

  v.

  OMER KHAN, an individual, and VIVID
  TECH, INC., a Delaware corporation,

         Defendants.
                                                  /

                                           COMPLAINT

         Plaintiff Vocodia Holdings Corp (“Plaintiff” or “Vocodia”) sues Defendants Omer Khan

  (“Khan”) and Vivid Tech, Inc. (“VividTech”) (collectively, “Defendants”), as follows:

                                         Nature of the Case

         1.      This is an action for declaratory relief pursuant to Rule 57, Federal Rules of Civil

  Procedure, and the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., to determine an actual,

  ripe controversy regarding (i) Khan’s lack of entitlement to any equity interest in Vocodia and

  (ii) Vocodia’s ownership of all intellectual property developed by Khan and VividTech for

  Vocodia during the course of Khan’s employment with Vocodia.

         2.      Vocodia seeks a declaration from this Court that (i) Vocodia does not owe any

  Restricted Stock Units (“RSUs”) in Vocodia to Khan because Khan’s employment was

  terminated prior to vesting, and (ii) all intellectual property developed by Khan or VividTech

  during the course of Khan’s employment with Vocodia properly resides with Vocodia. In




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  addition, Vocodia seeks all costs incurred, including its reasonable attorneys' fees, in having to

  bring this action against Defendants.

                                   Jurisdiction, Venue and Parties

         3.      This Court has jurisdiction under 28 U.S.C. § 1332 because complete diversity of

  citizenship exists between the parties and the amount in controversy is greater than $75,000.

         4.      Vocodia is a corporation formed and existing under the laws of the State of

  Wyoming and registered to do business in the State of Florida which carries out its core

  executive and administrative functions in Palm Beach County, Florida.

         5.      Khan is an individual who resides in Orange County, California, and is sui juris.

         6.      VividTech is a corporation formed and existing under the laws of the State of

  Delaware which carries out its core executive and administrative functions in Los Angeles

  County, California.

         7.      This Court has personal jurisdiction over Khan pursuant to a forum selection

  clause in the below described Invention Agreement in which Khan contractually agreed to the

  jurisdiction of the state and federal courts of Florida. [See Exhibit C, infra, § 6.A.].

         8.      This Court also has personal jurisdiction over Khan pursuant to Section

  48.193(1)(a)(1), Florida Statutes, because at all times relevant, Khan operated, conducted,

  engaged in, or carried on a business or venture in Florida, in addition to other bases for

  jurisdiction under Section 48.193, Florida Statutes.

         9.      This Court has personal jurisdiction over VividTech pursuant to Section

  48.193(1)(a)(1), Florida Statutes, because at all times relevant, VividTech operated, conducted,

  engaged in, or carried on a business or venture in Florida, in addition to other bases for

  jurisdiction under Section 48.193, Florida Statutes.


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         10.     Venue is proper in this district under 28 U.S.C. § 1391(b) because a substantial

  portion of the events, acts and omissions establishing the claims occurred in this district.

         11.     All conditions precedent to bringing this action have occurred, been performed, or

  have been excused, satisfied, or waived.

         12.     Vocodia is contractually obligated to pay its attorneys a reasonable fee for their

  services in prosecuting this action.

                                         General Allegations

         13.     Vocodia is an experienced conversational artificial intelligence (“AI”) technology

  provider that provides scalable solutions for call center operations.

         14.     Khan represents himself as an individual possessing experience in call center

  engineering and conversational AI.

         15.     VividTech is a company founded by Khan, which represents itself as a provider of

  advanced interactive voice response (“IVR”) technology.

         16.     On June 24, 2021, Vocodia and Khan entered into a Mutual Non-Disclosure and

  Non-Circumvention Agreement (“NDA”), pursuant to which each of the contracting parties

  expressed the desire to communicate and exchange information regarding confidential and

  proprietary software and other sensitive information, and wherein they agreed to keep such

  information exchanged confidential. A copy of the NDA is attached hereto as Exhibit A.

  Pursuant to the NDA, any prevailing party is entitled to recover its attorneys’ fees and costs in

  any proceeding to enforce the terms of the agreement.

         17.      Following entry into the NDA, on October 27, 2021, Vocodia provided to Khan

  an Offer of Employment (“Employment Agreement”) to serve as the Chief Technology Officer

  (“CTO”) of Vocodia.. A copy of the Employment Agreement is attached hereto as Exhibit B.


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         18.     The Employment Agreement specifically provides that employment would be at

  will, with no promise of employment of any specific duration, and provides that Vocodia could

  end the employment relationship at any time, with or without notice. [See Exhibit B ¶ 5].

         19.     The Employment Agreement provided to Khan a base annual salary, in addition

  to 2,000,000 of RSUs that would vest 12 months from August 1. [See id. ¶ 3(a)-(b)]. In other

  words, Khan’s equity would vest as of August 1, 2022, and the grant would occur on the 15th

  day of the month or the earliest next trading day. [See id.].

         20.     Khan signed the Employment Agreement on October 30, 2021.

         21.     During the course of his employment, Khan utilized his company VividTech to

  provide telephony engineering and backend development services to Vocodia.

         22.     On July 26, 2022, Khan executed and delivered to Vocodia the Proprietary

  Information and Invention Assignment Agreement (“Invention Agreement”) referenced in the

  Employment Agreement as a specific requirement for employment with Vocodia. Pursuant to the

  Invention Agreement, Khan agreed that all Inventions (as defined in Section 1.A of the

  agreement) developed by Mr, Khan during the course of his employment with Vocodia were the

  property of Vocodia. Mr. Khan likewise agreed to disclose and assign to Vocodia all right, title,

  and interest in and to all Inventions solely or jointly developed during the course of his

  employment, whether during working hours or during off-duty hours. The only exceptions to the

  required disclosure and assignment are for Inventions not related to Vocodia’s business or not

  developed in relation to any work performed for the company. A copy of the Invention

  Agreement is attached hereto as Exhibit C.

         23.     On July 29, 2022, Vocodia terminated Khan’s employment with the company as

  of that same date. Vocodia transmitted to Khan a Letter of Termination indicating, among other


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  items, that all stock initially offered to Khan as part of the Employment Agreement would not

  vest. A copy of the Letter of Termination is attached hereto as Exhibit D.

         24.     While cause is not a required element for termination, Vocodia terminated Khan’s

  employment in large part due to Khan’s unresponsiveness, lack of collaboration, poor

  performance, and general insubordination.

         25.     Along with the Letter of Termination, Vocodia transmitted to Khan a Transition

  Services Agreement and Separation Agreement, requesting Khan’s signature. In good faith, the

  Transition Services Agreement offered to Khan 100,000 shares of Vocodia common stock as

  compensation for additional services provided during the month following Khan’s termination.

         26.     Since the termination of his employment, Khan has claimed that he is entitled to

  the 2,000,000 RSUs in the company. However, Vocodia terminated Khan’s employment prior to

  the date on which his equity in the company would have vested.

         27.     Khan has also denied that any intellectual property (which includes Inventions as

  defined under the Invention Agreement) developed during the course of his employment would

  be the property of Vocodia. Khan has attempted to utilize his company VividTech as a shield,

  claiming that any intellectual property developed during the course of his employment with

  Vocodia was VividTech intellectual property. However, Khan’s claim in this regard ignores the

  plain language of the Invention Agreement.

                            Count I – Declaratory Judgment (Vesting)
                                          Against Khan

         28.     Vocodia realleges paragraphs 1 through 27 as if fully set forth herein.

         29.     This Court has the power to declare the rights, status, and other equitable or legal

  relations whether or not further relief is or could be claimed pursuant to Fla. Stat. 86.011 and to

  give such relief as it deems necessary.

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          30.     A bona fide, actual, present practical need exists for a declaration that Khan is not

  entitled to any RSUs in Vocodia and that any potential equity interest to which Khan may have

  been entitled did not vest.

          31.     The declaration deals with a present, ascertained set of facts or present

  controversy as to a state of facts.

          32.     The rights of the parties are dependent upon the law applicable to the facts

  regarding the nature of the Employment Agreement.

          33.     The parties to the relevant and business relationship or with an adverse interest

  are properly before the Court.

          34.     The declaration sought does not amount to mere legal advice.

          WHEREFORE, Plaintiff Vocodia Holdings Corp. respectfully requests that this Court

  enter judgment: (i) declaring that Khan has no entitlement to any equity interest or Restricted

  Stock Units in Vocodia; (ii) awarding Vocodia its attorneys’ fees and costs to the extent allowed

  for under applicable law; and (iii) awarding all such other relief to Vocodia as the Court deems

  just and proper.

                     Count II – Declaratory Judgment (Ownership of Inventions)
                                    Against Khan and VividTech

          35.     Vocodia realleges paragraphs 1 through 27 as if fully set forth herein.

          36.     This Court has the power to declare the rights, status, and other equitable or legal

  relations whether or not further relief is or could be claimed pursuant to Fla. Stat. 86.011 and to

  give such relief as it deems necessary.

          37.     A bona fide, actual, present practical need exists for a declaration that neither

  Khan nor VividTech is not entitled to claim any right to Inventions, as defined under the

  Invention Agreement, which were solely or jointly developed, created, or otherwise produced

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  during the course of Khan’s employment with Vocodia, which are related to Vocodia’s business

  or result from work Khan performed for the Company, all of which are expressly and

  unequivocally the sole property of Vocodia.

          38.     The declaration deals with a present, ascertained set of facts or present

  controversy as to a state of facts.

          39.     The rights of the parties are dependent upon the law applicable to the facts

  regarding the nature of the Invention Agreement, the Employment Agreement, and Khan’s

  relationship to VividTech.

          40.     The parties to the relevant and business relationship or with an adverse interest

  are properly before the Court.

          41.     The declaration sought does not amount to mere legal advice.

          WHEREFORE, Plaintiff Vocodia Holdings Corp. respectfully requests that this Court

  enter judgment: (i) declaring that all intellectual property and/or Inventions developed, created,

  or produced by Khan and/or VividTech during the course of Khan’s employment with Vocodia,

  which relate to Vocodia’s business and/or Khan’s employment with Vocodia, are the sole

  property of Vocodia; (ii) awarding Vocodia its attorneys’ fees and costs to the extent allowed for

  under applicable law; and (iii) awarding all such other relief to Vocodia as the Court deems just

  and proper.




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  Dated: September 21, 2022                 Respectfully submitted,

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